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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PERFECT 10, lNC.

PLAmTlFF(s)
v

GlGANEws, lNc., ET AL
DEFENDANT(S).

Dear Counsel,

CASE NUMBER

CV11- 7098 JHN (RZx)

 

 

NOTICE TO PARTIES OF ADR
PROGRAM

The district judge to whom the above-referenced case has been assigned is participating in an
ADR Prograrn. All counsel of record are directed to jointly complete the attached ADR Program
Questionnaire, and plaintiffs counsel (or defendant in a removal case) is directed to concurrently
file the Questionnaire with the report required under Federal Rules of Civil Procedure 26(f).

08/29/1 1
Date

Clerk, U.S. District Court

By: CPOWERS
Deputy Clerk

 

 

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UN|TED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CAL|FORN|A

CASE NUMBER
PERFECT 10, lNC.

PLAiNTlFF(s) CV11- 7098 JHN (RZX)
v.

 

GlGANEWS, lNc., ET AL . ADR PROGRAM QUEST|ONNA|RE
DEFENDANT(S).

 

(1) What, if any, discovery do the parties believe is essential in order to prepare adequately for a settlement
conference or mediation? Please outline with specificity the type(s) of discovery and proposed completion
date(s). Please outline any areas of disagreement int this regard. Your designations do not limit the discovery

that you will be able to take in the event this case does not sett|e.

 

 

 

 

 

 

 

(2) What are the damage amounts being claimed by each plaintiff? identify the categories of damage
claimed [e.g., lost protits, medical expenses (past and future), lost wages (past and future), emotional distress,

damage to reputation, etc.] and the portion of the total damages claimed attributed to each category.

 

 

 

 

 

 

 

 

 

ADR-9 (04/10) 1 . ADR PROGRAM QUEST|ONNA|RE

 

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(3) Do the parties agree to utilize a private mediator in lieu of the court's ADR Program?

Yes [_] No [_]

(4) if this case is in category civil rights - employment (442), check all boxes that describe the legal bases of

plaintiff claim(s).

[_] Title V|l [__] Age Discrimination

[_] 42 U.S.C. section 1983 [_] California Fair Employment and Housing Act
[_] Americans with Disabilities Act of 1990 - [_] Rehabilitation Act

[_] Other

 

 

 

l hereby certify that all parties have discussed and agree that the above-mentioned responses are true and

 

 

 

 

 

correct.
Date Attorney for Plaintiff (Signature)

Attorney for Plaintiff (P|ease print full name)
Date Attorney for Defendant (Signature)

 

' Attorney for Defendant (P|ease print full name)

 

ADR-9 (04/10) b ADR PROGRAM QUEST|ONNA|RE

